                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE

UNITED STATES OF AMERICA,                       )
                                                )
v.                                              )      No.:   3:09-CR-141
                                                )
DUSTIN WALLACE                                  )

                           MEMORANDUM AND ORDER

      This criminal case is before the court on the defendant’s motion for sentence

reduction [doc. 455]. Through counsel, the defendant asks this court to resentence him

pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendments 782 and 788 to

the United States Sentencing Guidelines Manual (“U.S.S.G.”). The government has

responded in opposition to the motion [doc. 462].         Simultaneously, however, the

government defers to the court’s discretion whether and to what extent to grant a

reduction, subject to the limitations of 18 U.S.C. § 3582(c)(2) and U.S.S.G. § 1B1.10.

I.    Authority

      “Federal courts are forbidden, as a general matter, to modify a term of

imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

exceptions.” Freeman v. United States, 131 S. Ct. 2685, 2690 (2011) (internal citation

and quotation marks omitted).      One such exception is identified in 18 U.S.C. §

3582(c)(2):




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      [I]n the case of a defendant who has been sentenced to a term of
      imprisonment based on a sentencing range that has subsequently been
      lowered by the Sentencing Commission . . . , the court may reduce the term
      of imprisonment, after considering the factors set forth in [18 U.S.C.]
      section 3553(a) to the extent that they are applicable, if such a reduction is
      consistent with applicable policy statements issued by the Sentencing
      Commission.

If the court finds a defendant eligible for sentence reduction, “[t]he court may then

‘consider whether the authorized reduction is warranted, either in whole or in part,

according to the factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d

946, 949 (6th Cir. 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

      In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the court must first identify “the amended guideline range that would have

been applicable to the defendant had the relevant amendment been in effect at the time of

the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and citation

omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1) (2014).

Amendment 782, which became effective on November 1, 2014, revised the guidelines

applicable to drug-trafficking offenses by reducing the offense levels assigned to the drug

and chemical quantities described in guidelines 2D1.1 and 2D1.11. See U.S. Sentencing

Guidelines Manual app. C, amend. 782 (2014). Amendment 788, which also became

effective on November 1, 2014, identified Amendment 782 as retroactive.           See id.,

amend. 788.




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       Other than substituting Amendment 782 for the corresponding provision

applicable when the defendant was originally sentenced, the court “shall leave all other

guideline application decisions unaffected.” See U.S. Sentencing Guidelines Manual §

1B1.10(b)(1) (2014). The court “shall not” reduce a defendant’s term of imprisonment

to a term “less than the minimum of the amended guideline range,” nor to a term “less

than the term of imprisonment the defendant has already served.” Id. § 1B1.10(b)(2)(A),

(C). 1 In addition, the commentary to guideline 1B1.10 provides that a court must also

consider the § 3553(a) sentencing factors and the danger to the public created by any

reduction in a defendant’s sentence. See id. cmt. n.1(B). A court may further consider a

defendant’s post-sentencing conduct. See id.

II.    Factual Background

       By judgment dated February 2, 2011, this court sentenced the defendant to a term

of imprisonment of 131 months as to Count One (conspiracy to distribute and possess

with the intent to distribute oxycodone) and Count Five (conspiracy to commit money

laundering), with the terms to run concurrently for a net sentence of 131 months. The

defendant’s guideline range was 262 to 327 months (total offense level 39, criminal

history category I). Prior to sentencing, the United States filed a motion for downward

departure pursuant to U.S.S.G. § 5K1.1 which the court granted in imposing the 131-

month sentence, a reduction of 50 percent from the bottom of the guideline range.

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          Guideline 1B1.10 provides one exception to the rule that a defendant may not receive a
sentence below the amended guideline range—namely, if the defendant originally received a
below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
assistance to authorities.” Id. § 1B1.10(b)(2)(B). That is the case here.
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According to the Bureau of Prisons, the defendant is presently scheduled for release on

August 8, 2019.

III.   Analysis

       Applying Amendment 782, the defendant’s new guideline range is 210 to 262

months, based on a total offense level of 37 and a criminal history category of I. Thus,

the defendant was originally sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission.

       The court has considered the filings in this case, along with the relevant 3553(a)

factors. Additionally, the court has considered the danger to the public as the result of

any reduction in the defendant’s sentence, the seriousness of the defendant’s offense, the

defendant’s post-sentencing conduct, and the need to protect the public. See id. § 1B1.10

cmt. n.1(B)(ii), (iii).

       The court specifically notes the United States’ arguments “encourage[ing] this

Court to decline to grant any reduction and to find that defendant’s existing 131-month

sentence remains sufficient, but not greater than necessary, to satisfy the § 3553(a)

factors.” [Doc. 462, p.4]. The United States first points out that the defendant “has been

sanctioned for several disciplinary infractions while incarcerated,” most particularly for

fighting in October 2013. The defendant also twice possessed a non-hazardous tool. The

Bureau of Prisons has disciplined the defendant for those infractions, and the court is

satisfied with the sanctions imposed. Additionally, the court observes that the defendant

is currently housed at a low-security Bureau of Prisons facility. That fact indicates that

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the defendant’s post-sentencing conduct has not been as bad as the government suggests.

The court lastly recognizes the United States’ apparent ongoing displeasure with the

extent of the substantial assistance reduction awarded by this court at the original

sentencing hearing. The time for complaining about that decision has long passed.

       For these reasons, and having considered the relevant 3553(a) and 1B1.10 factors,

the court finds that the defendant should be granted a sentence reduction.

IV.    Conclusion

       For the reasons stated herein, the defendant’s motion [doc. 455] is GRANTED.

The defendant’s term of imprisonment is reduced to 105 months as to Counts One and

Five, with the terms to run concurrently for a net sentence of 105 months. This sentence

is a corresponding 50 percent substantial assistance reduction from the bottom of the

defendant’s new guideline range. If this sentence is less than the amount of time the

defendant has already served, the sentence shall instead be reduced to “time served.” See

U.S. Sentencing Guidelines Manual § 1B1.10(b)(2)(C).

       Except as provided above, all provisions of the judgment dated February 2, 2011,

shall remain in effect. The effective date of this order is November 2, 2015. See id. §

1B1.10(e)(1).

                IT IS SO ORDERED.

                                                        ENTER:



                                                               s/ Leon Jordan
                                                         United States District Judge
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